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Comments V

wes therealpbmarci 248w

Whoring nigga, leave the woman
alone you bitch. Why do | have to
read in news that you bringing her in
court to get more child support?
You disgusting excuse for male..you
betta stop messing with the sista ok,
bitch.

Reply

= therealpbmarci 248w

Negro, why won't you leave the sista
alone in peace?? Whoring ffingb

3

Reply

ER asiamclauren 248w

ty

ao , “Qo fee) ) ee e
97H 8&6 F< O eB Oo eB
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Comments V

nepyiy

€® asiamclauren 248w
You are a monster and you will rot in v

hell , get a fucking JOB and stop
tryna ruin Mel b's life, you don’t
need that much money from her and
why tf is she even on child support
in the first place? | hope somebody
beat ur ass one day like how u beat
on Mel b, u need to get fucked up

with ur evil ass nigga FUCK YOU &
I i

Gg @
Reply

therealduce 249w
ye v

Replv

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@
é
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¢
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Comments V

discuss or confront ¢y ey vy ey

Reply

Oo lucyhig123 286w

Just finished Mels book, Steve
Stansbury you vile cretin!
Reply

eraymami_ 286w

oO
Reply
»-. shirlzyvasquez 286w - @ by author
a | 9
dn
Renlv 1

attra ; Sua > >
Case 1:24-cv-22045-DPG Document 1-3 Entered on FLSD Docket 05/29/2024 Page 4 of 11

Comments V

hy You literally took your father’s whole 0
face

Reply

twirly456 141w

Pure evil Y
Reply
~) sonia.0576 243w
. CO
~” Just read Mel's book what an evil
scum bag of a human you are 3
Reply

View 1 more reply
mmaodds_capper 256w
“Wann anntina that Oa mw mAR VALLE AAT Qe

‘ow

a ‘ a" (eo @\ ee fom as)
i 6 §$ © @e @O @

)
y

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Comments V

Qa victoriaschottdorf 147w

OO& ws

Reply
x conan 157w me. |
aD Oo

Nothing sexy about a woman beater

\ Reply ZZ

g - nadjasmission 170w

“© @stephenbelafonte1 @% so nice 0
Reply

B icantwitchubitches 171w
the sound he makes after flipping Vv

byeeeeeeeeee

Pa on Ds

i i Bs ae Ge (ee fom
9Y9Hb8C Oe DO
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Comments V

born_too_win 247w
You a whole bitch VY
Reply

‘~ darklo 247w

~<¥” Heavey VY
Reply

) loyaltyalways100 247w
@stephenbelafonte1 you are a 0

proper scumbag leeching of your ex
wife @officialmelb for money , man
up have some pride earn your own
damn money ffs , are you not able to
go & earn your own money +4

Reply
Case 1:24-cv-22045-DPG Document 1-3 Entered on FLSD Docket 05/29/2024 Page 7 of 11

Comments VW
micheledemartino4a 259w
I'm bout it ! Y
Reply

*.; shaunachubbs 261w

w Animal abuser. You fucking v
scumbag cunt. Hope you die a slow
agonising death

Reply

Bh soweirdboy 261w
Sickening VY

Reply

.) charisma 261w
& y 7
Case 1:24-cv-22045-DPG Document 1-3 Entered on FLSD Docket 05/29/2024 Page 8 of 11

Comments V
thespecial_k 216w - @ by author
Y e
2

Reply

dden by Instagram

reaper9466 213w

You don’t have financial worries
because you live off your ex wife you. 15

ev

fucking prick
Reply

2, odj6 215w

‘” Dum ass 5g is real stupid ain't Vv
nothing fake about that clown
Reply
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Comments V

krystlex 247w

You f*ckin low life scum! Demanding
more money for child support are
you feckin real?! Mel is successful
WITHOUT you so you wana jump on
her money..YOU FIND YOUR OWN
MONEY TO SUPPORT YOUR KIDS
not scrounge off their mother. You
disgust me. Not Mel's fault you cant
provide for your children. Why cant
you leave her be and let her be
happy with the kids? | have ZERO
respect for you

9d

Reply

mm ladyleeofficial @ 247w
6 t * + Y
5 TOP TOP TOP

a a f ‘So (foe «4 fom md
9 Hi & FF O @ OG eB
Case 1:24-cv-22045-DPG Document 1-3 Entered on FLSD Docket 05/29/2024 Page 10 of 11

Comments VW
Reply
go itsmestefannie 286w
You are and always have been a Vv

narcissist piece of shit. It’s so
obvious that you are a skank. | hope
she makes a billion dollars from this
book & you rot in the hell you
deserve.

Reply

oR pineapplepink1 286w

” @stephenbelfonte1l remember your
daughters, their friends and family 1
will read this book one day - be the
bigger person

Replv
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17 5E0N all & @

< oA Angela Moody >

angela_moo_

e

~~ -

Angela Moody
angela_moo_- Instagram
736 followers - 1.9K posts
You don't follow each other on Instagram

[ View profile ]

MAY 4 AT 5:41AM

No one forgets what a cunt you are. Hell

will catch up with you one day. Reap

what you sow you stinking piece of shit.
cA Woman and animal abuser.

Accept message request from Angela Moody
(angela_moo_)?
If you accept, they will also be able to call you and see info such as
your activity status and when you've read messages.

Block Delete [ Accept ]

